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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                           )
  IN RE PHARMACEUTICAL INDUSTRY                            )   MDL NO. 1456
  AVERAGE WHOLESALE PRICE LITIGATION                       )   Civil Action No. 01-12257-PBS
                                                           )   Subcategory No. 03-10643-PBS
                                                           )
  THIS DOCUMENT RELATES TO:                                )
                                                           )   Judge Patti B. Saris
  The City of New York, et al. v. Abbott Laboratories,     )
  Inc., et al.                                             )


[PROPOSED] ORDER OF DISMISSAL OF PLAINTIFFS’ CLAIMS AGAINST DEFENDANTS
      PFIZER INC., WYETH PHARMACEUTICALS, INC., WYETH, PHARMACIA
  CORPORATION, GREENSTONE, LTD., AND AGOURON PHARMACEUTICALS, INC.

         The Motion for Dismissal is hereby GRANTED. All Claims in this action against

  Defendants Pfizer Inc., Wyeth Pharmaceuticals, Inc., Wyeth, Pharmacia Corporation,

  Greenstone, Ltd., and Agouron Pharmaceuticals, Inc. are dismissed with prejudice and without

  costs to any party.


         IT IS SO ORDERED

  Dated: _______________, 2011



                                                         _____________________________
                                                         The Honorable Patti B. Saris
                                                         United States District Court Judge
